Case 23-12018-amc            Doc 54      Filed 06/21/24 Entered 06/21/24 11:51:10                    Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Wanda Henry
                                  Debtor(s)                                          CHAPTER 13

PENNSYLVANIA HOUSING FINANCE AGENCY
                      Movant
          vs.
                                                                                  NO. 23-12018 AMC
Wanda Henry
                                  Debtor(s)

KENNETH E. WEST ESQUIRE
                       Trustee                                                   11 U.S.C. Section 362

                                                     ORDER

         AND NOW, this 21st day of            June       , 2024 at Philadelphia, upon failure of Debtor(s) and the
 Trustee to file and Answer or otherwise plead, it is:
         ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is granted and
 the Automatic Stay of all proceeding, as provided under Section 362 of the Bankruptcy Abuse and Consumer
 Protection Act of 2005 (The Code), 11 U.S.C. Section 362, is modified with respect to the subject premises
 located at 5959 Upland Way, Philadelphia, PA 19131 (“Property), so as to allow Movant, its successors or
 assignees, to proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in
 rem State Court remedies including, but not limited to, taking the Property to Sheriff’s Sale, in addition to
 potentially pursuing other loss mitigation alternatives including, but not limited to, a loan modification, short
 sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or
 purchaser's assignee) may take any legal action for enforcement of its right to possession of the Property.




                                                              Ashely M. Chan, United States Bankruptcy Judge.
